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                                          ORDERED.


         Dated: September 18, 2019




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION
                                    www.flmb.uscourts.gov


In re:                                                     Case No. 8:19-bk-06510-CPM
                                                           Chapter 7
Luz M. Arjona

               Debtor.                /

      ORDER APPROVING TRUSTEE’S APPLICATION TO RETAIN BK GLOBAL
  REAL ESTATE SERVICES AND DALTON WADE REAL ESTATE GROUP TO PROCURE
       CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§327, 328 AND 330

          THIS CASE came on for consideration of the Application of Carolyn R. Chaney, the

Trustee in the above-captioned case to retain BK Global Real Estate Services (“BKRES”) and

Dalton Wade Real Estate Group (“Listing Agent”) to Procure Consented Public Sale pursuant to

11 U.S.C. §§ 327, 328 and 330, at Doc. No. 9. The Court having reviewed and considered the

Application and the Affidavits of Disinterestedness and having found good and sufficient cause

appearing therefor and the same to be in the best interest of the Debtor and the creditors, the Court

hereby finds that based on the foregoing findings, it is hereby

                 ORDERED:

          1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).

          2. Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C. §§

1408 and 1409.

          3.   The Application is hereby APPROVED.
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        4. The Trustee is authorized to retain and compensate BK Global Real Estate Services

and Dalton Wade Real Estate Group to procure Secured Creditor’s Consent, and otherwise market

and sell the Property in Debtor’s Chapter 7 case pursuant to Sections 327, 328(a) and 330 of the

Bankruptcy Code, and Bankruptcy Rules 2014 and 2016, in accordance with the terms and

conditions set forth in the BKRES Agreement, the Listing Agreement and this Order. BKRES and

Listing Agent shall not split or otherwise share their fees with any other person or entity.

        5. BKRES and Listing Agent are disinterested persons within the meaning of Bankruptcy

Code Section 101(14).

        6. BKRES and Listing Agent shall be compensated in accordance with the BKRES

Agreement and Listing Agreement, respectively, and such compensation shall not hereafter be

subject to challenge except under the standard of review set forth in Section 330 of the Bankruptcy

Code.

        7.   BKRES and Listing Agent shall be authorized to receive and retain their fees from

Secured Creditor at the successful closing of the sale of the Property without necessity of further

order of the Court. The estate shall, in no circumstance, be obligated to compensate BKRES or

Listing Agent in such event and BKRES and Listing Agent shall not have a claim against the estate

for any unpaid amounts. BKRES and Listing Agent, and anyone claiming by, through or under

either of them, shall only have recourse for recovering its fee from Secured Creditor. The estate

shall have no liability for any such claim.

        8. This Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation of this Order.



Trustee Carolyn Chaney is directed to serve a copy of this order on interested parties who do not
receive service by CM/ECF and to file a proof of service within three days of entry of this order.
